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                                     27                           Plaintiffs Exhibit 11




       DISTRICT COURT, ARAPAHOE COUNTY, COLORADO
       7325 S. Potomac
       Centennial, co 80112
       PEOPLE OF THE STATE OF COLORADO,
       In the Interest of:




       Respondents.                                       � COURT USE ONLY�
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